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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

TANNER JAI CROOK,
ADC #660328                                                                         PLAINTIFF

                                   4:20CV00306-BRW-JTK

CRAIG, et al.                                                                     DEFENDANTS

                                           ORDER

       The Court has received proposed findings and recommendations from United States

Magistrate Judge Jerome T. Kearney.    There have been no objections.   After a review of those

proposed findings and recommendations, the Court adopts them in their entirety.

       Accordingly, Defendant’s Motion for Summary Judgment on the issue of exhaustion

(Doc. No. 23) is GRANTED, and Plaintiff’s complaint is DISMISSED without prejudice.

       An appropriate Judgment will accompany this Order.

       IT IS SO ORDERED this 23rd day of March, 2021.



                                                         Billy Roy Wilson_________________
                                                        UNITED STATES DISTRICT JUDGE




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